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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

 

JOSEPH SURMAN,
Plaintiff,

VS\.

JANE BARAGAR, CHERYL L.
STERLING and KATHY PALKA,

Defendants.

Hon. Richar'd Alan ENSLEN

Case No. 1:06 CV 0312

 

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PLAlNTIFF’S LEGAL SUPPLEMENT RE: DEFENDANT BARAGAR

To prove conspiracy between private parties and the government under 42 USC §1983,
an agreement or ‘meeting of the minds' to violate constitutional rights must be shown.” _Adi§l<_e§
v. S.H. Kress & Co., 398 U.S. 144, 158 (1970). For purposes of establishing a prima facie case of
liability, “nothing more than an ‘understanding’ and ‘Willful participation’ between private and
state defendants is necessary to show the kind of joint action that Will subject private parties to
§1983 liability[,]” Bendiburg v. Dempsey, 909 F.2d 463, 469 (11th Cir. 1990), and the plaintiff is
not required “to produce a ‘smoking gun’ to establish the ‘understanding’ or ‘Willful
participation’ required to show a conspiracy . . . . ” Rowe v. Citv of Ft. Lauderdale, Fl., 279 f.3d
1271, 1283-1284 (11th Cir. 2002). Similarly, Plaintiff has not found any case law that Would
require equal participation among the col-conspirators in order for 42 USC §1983 joint action
liability to attach to each an_d Ae_ry co-conspirator.

For the foregoing reasons, Plaintiff submits that his earlier briefings to this Court
regarding 42 USC §1983 liability attaching to the conduct and actions of Defendant Palka and
Defendant Sterling are equally applicable to the conduct and actions of co-conspirator and co-
defendant Baragar.

Respectfully Submitted,
Dated: July 21, 2006 /s/ Roger W. Boer

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